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                IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF ARKANSAS
                           DELTA DIVISION

JAMEL GREENE                                                               PLAINTIFF
Reg #17632-035

v.                        CASE NO. 2:23-CV-00101-BSM

DEWAYNE HENDRIX et al.                                                 DEFENDANTS

                                    JUDGMENT

     Consistent with the order entered today, this case is dismissed without prejudice.

     IT IS SO ORDERED this 7th day of July, 2023.



                                                 UNITED STATES DISTRICT JUDGE
